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         IN THE UNITED STATES DISTRICT COURT FOR THE
              NORTHERN DISTRICT OF OKLAHOMA

    1. RICHARD REIBERT,                         )
    2. NORMA LOSORINO,                          )
                                                )
              Plaintiffs,                       )
                                                )
  v.                                            )Case No.:17-cv-350-CVE-mjx
                                                )
     1. CSAA FIRE & CASUALTY INSURANCE )
        COMPANY, a foreign for profit Insurance )
        Corporation,                            )
                                                )
             Defendant.                         )

                                   COMPLAINT

                                     A. Parties

    1.   Plaintiffs, Richard Reibert and Norma Losorino, are each citizens of the

 State of Oklahoma.

    2.   Defendant, CSAA Fire & Casualty Insurance Company, is a foreign for-

 profit insurance corporation, incorporated and organized under the laws of the State

 of Indiana.

   3.    The principal place of business for Defendant, CSAA Fire & Casualty

 Insurance Company, is Walnut Creek, California.

   4.     The Defendant, CSAA Fire & Casualty Insurance Company, is licensed to

 conduct business in the State of Oklahoma and may be served with process through

 the Oklahoma Department of Insurance.
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     5.    This action is not related to any other case filed in this court.

                                     B. Jurisdiction

    6.     The court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332

 because there is diversity between the parties and the amount in controversy

 exceeds $75,000.00, exclusive of interest and costs.

                                         C. Facts

    7.     At all times material hereto, the Plaintiffs, Richard Reibert and Norma

  Losorino, owned a home located at 4103 N. Lions Court in Broken Arrow,

  Oklahoma, which was insured under the terms and conditions of a homeowners

  insurance policy, policy number HO5-003757415, issued by the Defendant, CSAA

  Fire & Casualty Insurance Company.

    8.     At all times material hereto, the Plaintiffs, Richard Reibert and Norma

  Losorino, complied with the terms and conditions of their insurance policy.

    9.     On or about April 26, 2016, the Plaintiffs’ home sustained damage as a

  result of wind. These damages are covered pursuant to the terms and conditions of

  Plaintiffs’ insurance policy.

   10.    Wind is a covered peril not limited or excluded pursuant to the terms and

  conditions of Plaintiffs’ insurance policy.

                            D. Count I: Breach of Contract

   11.     Plaintiffs, Richard Reibert and Norma Losorino, hereby assert, allege and
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  incorporate paragraphs 1-10 herein.

    12.    The homeowners insurance policy, policy number HO5-003757415,

  issued by Defendant, CSAA Fire & Casualty Insurance Company, was in effect on

  or about April 26, 2016.

    13.    Subsequent to the April 26, 2016 wind storm, Plaintiffs, Richard Reibert

  and Norma Losorino, timely submitted a claim to Defendant, CSAA Fire &

  Casualty Insurance Company. Defendant refused to issue payment to fully repair

  and/or replace Plaintiffs’ obviously wind damaged roofing system. Defendant’s

  refusal to pay for repair and/or replacement of the Plaintiffs’ wind damaged

  roofing system constitutes a breach of the insurance policy.

     14.    The acts and omissions of Defendant, CSAA Fire & Casualty Insurance

  Company, in the investigation, evaluation, and denial of Plaintiffs’ claim were

  unreasonable and constitute a breach of contract for which contractual damages are

  hereby sought. Defendant, CSAA Fire & Casualty Insurance Company, breached

  its contract with Plaintiffs, Richard Reibert and Norma Losorino, by failing to

  conduct a reasonable investigation of the Plaintiffs’ claim and by improperly

  denying payment and coverage for Plaintiffs’ obviously wind damaged roofing

  system. Defendant ignored and refused to consider obvious evidence of wind

  damage, such as uplifted roofing shingles, and denied the Plaintiffs’ claim

  improperly, without adequate investigation, and without any reasonable basis.
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                               E. Count II: Bad Faith

     15.   Plaintiffs, Richard Reibert and Norma Losorino, hereby assert, allege and

  incorporate paragraphs 1-14 herein.

     16.    The acts and omissions of the Defendant, CSAA Fire & Casualty

  Insurance Company, in the investigation, evaluation and payment of Plaintiffs’

  claim were unreasonable and constitute bad faith for which bad faith and extra-

  contractual damages are hereby sought.

     17.    Defendant CSAA Fire & Casualty Insurance Company’s refusal to pay

  the cost to fully repair and/or replace the Plaintiffs’ obviously wind damaged

  roofing systems is a bad faith breach of Plaintiffs’ insurance policy. Defendant,

  CSAA Fire & Casualty Insurance Company, acted in bad faith by failing to

  conduct a reasonable investigation of the Plaintiffs’ claim and by improperly

  denying payment and coverage for Plaintiffs’ obviously wind damaged roofing

  system. Defendant ignored and refused to consider obvious evidence of wind

  damage, such as uplifted roofing shingles, and denied the Plaintiffs’ claim

  improperly, without adequate investigation, and without any reasonable basis.

     18.     Defendant CSAA Fire & Casualty Insurance Company’s unreasonable

  refusal to pay for the damage to Plaintiffs’ roofing system was unreasonable,

  outside of insurance industry standards, and was committed in bad faith.

                                F. Punitive Damages
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     19. Plaintiffs, Richard Reibert and Norma Losorino, hereby assert, allege and

  incorporate paragraphs 1-18 herein.

     20.     The unreasonable conduct of the Defendant, CSAA Fire & Casualty

  Insurance Company, in the handling of Plaintiffs’ claim was intentional, willful,

  wanton and was committed with a reckless disregard for the rights of the Plaintiffs,

  Richard Reibert and Norma Losorino, for which punitive damages are hereby

  sought.

                              G. Demand for Jury Trial

     21.     Plaintiffs, Richard Reibert and Norma Losorino, hereby request that the

  matters set forth herein be determined by a jury of their peers.

                                        H. Prayer

     22.    Having properly pled, Plaintiffs, Richard Reibert and Norma Losorino,

  hereby seek contractual, bad faith and punitive damages against the Defendant,

  CSAA Fire & Casualty Insurance Company, together in an amount in excess of

  $75,000.00; including costs, interest and attorney fees.
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                                     Respectfully submitted,

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